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 2
                         IN THE UNITED STATES DISTRICT COURT
 3
                            EASTERN DISTRICT OF CALIFORNIA
 4

 5   UNITED STATES OF AMERICA,               CASE NO.   2:15-CR-00125-GEB

 6
     Plaintiff,                              JUDICIAL RESPONSE TO MOTION IN
 7                                           LIMINE

 8   v.

 9   BENJAMIN MACIAS,

10
     Defendant.
11

12

13        Defendant moves in limine in ECF docket No. 167 for an order

14 prohibiting the government from introducing at trial any evidence

15 seized on June 9, 2015 from the Defendant’s alleged residence.              The

16 seized items include cocaine, a gun holster, and ammunition.

17 Defendant argues these items are prejudicial and not sufficiently

18 probative of the charged crimes of cocaine distribution, possession

19 and conspiracy, felon in possession of a firearm, and possessing a

20 firearm in furtherance of a drug crime.

21        The government opposes the the motion arguing the challenged

22 evidence is “probative of Macias’s knowledge, intent and lack of

23 mistake[, and that] the evidence found at Macias’s house [on] the

24 same day that Macias was arrested with drugs and a gun in his car,

25 which is the conduct that Macias is charged with.”            Opp’n to Mot.

26 (“Opp’n”) 1-2, ECF No. 182.        The government further argues:

27              The drug (cocaine) found in Macias’s house
                matches the drug found in his possession
28              (cocaine) on June 9, 2015. Some of the ammunition

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 1            (9mm) found at his house matches the caliber,
              brand, and type of ammunition (9mm, Winchester,
 2            hollow-point) found in the gun in his car. The
              other items—a high capacity magazine and a
 3            shoulder holster—indicate that the presence of
              the gun in Macias’s car was the result of a
 4            deliberate and knowledgeable act.

 5            The evidence found in Macias’s house is therefore
              acutely probative evidence because it directly
 6            proves the charged offense1, and because the acts
              were performed contemporaneously with the charged
 7            crime and they facilitated the commission of the
              charged crime.
 8
              Moreover, Count 1 of the indictment charges
 9            Macias with an overarching conspiracy to
              distribute cocaine. Surely, cocaine found (in
10            two different packages) in Macias’s house is part
              of fair and substantial evidence of such a
11            conspiracy. While such evidence might not be
              sufficient by itself to prove the count, the
12            presence of a controlled substance in a
              defendant’s house is standard proof of knowledge
13            and access in any drug conspiracy trial.

14            Further, any prejudice emanating from the
              presence of the cocaine, ammunition, magazine,
15            and holster pales in comparison from the presence
              of the much larger amount of charged cocaine and
16            the significantly more serious presence of the
              charged firearm. In other words, the jury will
17            already knowthat the case is about drugs and
              guns, so the evidence of these additional items
18            in Macias’s house will not prejudice him any
              meaningful way. Whatever imaginable prejudice
19            does not substantially outweigh the proof
              provided by those items, as is required by Rule
20            403.

21

22      Id.   The government is correct.      Defendant has not shown that

23 the probative value of the challenged evidence is substantially

24 outweighed by the danger of unfair prejudice.        Therefore, the motion

25 is denied.

26      Dated: November 1, 2018

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